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                       Case No. 21-6245


          UNITED STATES COURT OF APPEALS
               FOR THE SIXTH CIRCUIT

                     CURT TOMLINSON
                      Plaintiff-Appellant

                              vs.

            KRAUSS-MAFFEI, CORPORATION
                  Defendant-Appellee



            ON APPEAL FROM THE UNITED STATES
                 DISTRICT COURT FOR THE
             EASTERN DISTRICT OF KENTUCKY


REPLY BRIEF OF PLAINTIFF-APPELLANT CURT TOMLINSON



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                            I.       INTRODUCTION

      This case was decided on summary judgment. The facts are to be viewed in

a light most favorable to Plaintiff. Despite this settled principle, in its brief,

Defendant repeatedly does the opposite.

      Defendant says that Plaintiff’s request for a change in supervision was

unreasonable as a matter of law. However, when viewed in a light most favorable to

Plaintiff, jurors could find that in this case, having Plaintiff report to Aeric Bouza,

the Service Coordinator, instead of John Wiley, was a reasonable and workable

request.

      Defendant says it engaged in the interactive process required under the ADA.

Yet, there is no dispute that Defendant rejected Plaintiff’s request for a change in

supervision and refused to discuss or consider any other alternatives that would have

allowed Plaintiff to return to work in his same job. Jurors could also find it

significant that despite its flat refusal to consider any changes that would have helped

Plaintiff avoid another negative interaction with Wiley, Defendant was in the process

of changing its evaluation procedure in a way that would have largely removed John

Wiley from the process.

      Finally, Defendant says that a reasonable person would not have found the

situation sufficiently intolerable to warrant a constructive discharge. But jurors

viewing the evidence in a light most favorable to Plaintiff could find that


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Defendant’s demand that Plaintiff continue to work for Wiley, its failure to engage

in the interactive process, and its refusal failure to fully explore ways to

accommodate Plaintiff made the situation intolerable for a person with his condition.

      As argued more fully below, proper review of the facts in a light most

favorable to Plaintiff demonstrates that the district court erred by granting

Defendant’s motion for summary judgment.



                                II.   ARGUMENT

A.    The District Court Erred in Granting Summary Judgment on
      Plaintiff’s Failure-to-Accommodate Claim

      1.     Jurors could find that that Plaintiff requested a reasonable
             accommodation

             a.     The change in supervision

      Defendant says that in “the Sixth Circuit, a plaintiff’s request to work for his

preferred supervisor is not a reasonable accommodation request as a matter of law.”

(Doc 32-1 at 42). But Defendant fails to address the fact that none of the cases it

cited below and relied upon by the District Court established a rule that requesting a

change in supervision as an accommodation is always unreasonable.

      For example, Defendant cites language from Deister v. Auto Club Ins. Ass’n,

647 Fed.App’x 652 (6th Cir. 2016). (Doc. 32-1 at 42-43). However, Defendant

overlooks the relevant facts and holding by the court which undermine Defendant’s


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argument. As noted in Appellant’s brief, Deister never even requested a change of

supervision as an accommodation. Id. at 657. The panel decision cited a footnote

from the district court’s opinion in Diester where the district court cited Burdett-

Foster v. Blue Cross & Blue Shield of Michigan, 574 Fed.App’x 672 (6th Cir. 2014)

for the proposition that “an employer is not obliged to honor, as a ‘reasonable

accommodation,’ an employee's request for assignment to a different supervisor.”

Id. at note 2. However, the district court’s opinion in Deister said nothing about

changing supervisors as an accommodation. Rather, it cited Burdett-Foster only in

the context of a transfer as an accommodation. See Deister v. Auto Club Ins. Ass’n.,

91 F. Supp 3d 905, 929 (E.D. Mich. 2015) citing Burdett-Foster at 680 ("Even if

Burdett-Foster had requested a transfer to a new position (and she made clear in her

deposition that she had not), such an accommodation is reasonable only if there is

another position for which she would have been qualified.").

      Defendant says that in Burdett-Foster, “This Court affirmed summary

judgment in favor of the employer, in part, because plaintiff’s request to report to a

different supervisor as an accommodation was unreasonable.” (Doc. 32-1 at 43).

However, Burdett-Foster’s only request for accommodation was to make frequent

trips to the bathroom. Burdett-Foster, 574 Fed.App’x at 680. The panel went on to

note that her other request which “potentially” amounted to an accommodation – to




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remain in the same department but report to a different supervisor – was denied due

to her seniority level. Id. The court did not say the request was unreasonable. Id.

       In Spagnuolo v. Auto Club Grp. Ins. Co., 2020 U.S. Dist. LEXIS 129176 (E.D.

Mich. Jul 22, 2020), another case cited by Defendant, the court held that a request

for a different supervisor was “not a reasonable accommodation that an employer is

required to provide.” Id. at * 29. However, the court relied on Deister and Burdett-

Foster, which as noted above, do not establish a per se rule that a request for a

different supervisor or different method of supervision is unreasonable on its face.

       In short, because neither Deister nor Burdett-Foster involved a request to

change a supervisor, this Court has not addressed the issue, and the court should

reject Defendant’s assertion that “the Sixth Circuit has uniformly concluded that

requests to report to a different supervisor are unreasonable. . .”. (Doc. 32-1 at 44-

45, note 6). 1

       Defendant also argues that Plaintiff failed to present any evidence that his

request to report to a non-managerial coworker was reasonable or to cite any

authority that such a request was reasonable. (Doc 32-1 at 44). Defendant is wrong.




1
 As noted in Appellant’s brief, a change of supervisor was also raised in Tinsley v.
Caterpillar Fin. Servs., Corp., 766 Fed.App’x 337, 343 (6th Cir. 2019), but the court
did not reach the issue since it determined that Tinsley was not disabled. (See Doc.
29 at Page 39).

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      In his brief, Plaintiff explained the facts that supported the reasonableness of

his request:

      Plaintiff had a difficult interaction with Wiley which resulted in a flare
      up of his condition requiring treatment and medical leave. Wiley was
      Plaintiff’s supervisor in name only. He and Plaintiff did not have daily
      or even frequent interaction. Plaintiff saw Wiley about twice a year at
      group meetings and rarely had any individual interaction with him.
      Wiley did not direct or oversee Plaintiff’s customer service work in the
      field. Instead, Wiley had had to rely on feedback from others, including
      Bouza, to evaluate Plaintiff’s performance. Except for the task of
      completing Plaintiff’s evaluations, Bouza was effectively Plaintiff’s
      supervisor. Very little needed to change. There was no need for
      coworkers to know about the accommodation, and no one would have
      suspected that anything out of the ordinary was happening. All outward
      appearances would have remained the same.

(Doc. 29 at 37). Plaintiff also explained that Bouza directed Plaintiff’s work, had

frequent contact with Plaintiff, and provided input for Plaintiff’s evaluations. (Id. at

23, 37-38).

      In addition, Plaintiff presented legal authority which supported his request for

accommodation. Plaintiff cited US Airways, Inc. v. Barnett, 535 U.S. 391 (2002)

for the proposition that a fact-specific review is required under the ADA and that if

a request for accommodation is not in the normal run, the employee must explain

why it is reasonable. (Doc. 29 at 35-36). Plaintiff did so.

      Plaintiff also cited Cehrs v. Northeast Ohio Alzheimers, et al., 155 F.3d 775

(6th Cir. 1998), for a similar proposition. (Doc. 29 at 35-36). In Cehrs, this court

rejected the argument Defendant makes here.             Defendant asserts a general


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prohibition against a change in supervision. However, in Cehrs, the court noted that

adopting a per se rule against a proposed accommodation is contrary to the intent

and purpose of the ADA. According to the court, doing so would relieve the

employer from ever having to demonstrate undue hardship and “eviscerates the

individualized attention that the Supreme Court has deemed ‘essential’ in each

disability claim.” Id. at 782.

        Finally, Plaintiff relied on Kennedy v. Dresser Rand Co., 193 F.3d 120, 123

(2nd Cir. 1999), where the court addressed an employee’s request for a different

supervisor and held that “A per se rule stating that the replacement of a supervisor

can never be a reasonable accommodation is therefore inconsistent with our ADA

case law.” The court stated that there is a presumption against changing supervisors,

but as in all cases, “the plaintiff must demonstrate the reasonableness of the request

in the context of the plaintiff’s workplace.” Id. As noted above, Plaintiff did so.

      Although Defendant says Plaintiff tries to “muddy the issue” by arguing that

the district court should have applied a fact specific assessment of the reasonableness

of Plaintiff’s request (Doc. 32-1 at 44), the above cases make it clear that such an

analysis is required in cases of disability discrimination.

      Defendant argues that the district court addressed the specific facts of this case

when it determined that the company was not obliged to accommodate Plaintiff by

assigning a coworker to supervise him. (Doc 32-1 at 44-45). Defendant continues to


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portray Bouza as a mere coworker, but jurors could find otherwise. Bouza was not

a Field Service Engineer (FSE) like Plaintiff. He was the Service Coordinator for

about 40 FSEs in the Injection Molding Machine (IMM) Division. (RE 44, Wiley

depo. at Page ID # 191-92). Bouza determined the training that FSEs needed and

their progression in the role. (Id. at # 193). Bouza gave Plaintiff and the other IMM

FSEs their daily work assignments. (Id. and RE 45, Tomlinson depo at 77, 87-88,

Page ID # 313, 316). Bouza was Plaintiff’s point of contact for trouble-shooting

repair and customer issues. (Id.). Bouza was the person Plaintiff and other FSEs

called for assistance while they were at customer sites. (Id.). Bouza matched the

skill sets of the FSEs with the jobs in the field that needed to be done. (RE 44 Wiley

depo at Page ID # 194). Finally, Wiley looked to Bouza for input on Plaintiff’s

performance and that of other FSEs. (RE 45 Wiley depo. at Page ID # 208, 216,

270).

        In addition, and contrary to Defendant’s assertion, Plaintiff was not

attempting to “hand-select a non-supervisory coworker to be his supervisor.” (Doc.

32-1 at 45).2   As a practical matter, Bouza already effectively functioned as

Plaintiff’s supervisor, and Defendant acknowledged his elevated role when it


2
  Defendant incorrectly asserts that Plaintiff claimed that Defendant changed its
“reporting structure.” (Doc 32-1 at 37). Plaintiff wrote only that Defendant changed
its structure so that Bouza did the evaluations instead of Wiley. (See Doc. 29 at page
24 and 43-44).

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selected him to do evaluations for the IMM FSEs as part of Defendant’s “lessons

learned” from its investigation of Plaintiff’s complaint.

      Given the above, it was error for the district court to overlook the substantial

duties and inputs described above and conclude that Bouza was a mere coworker of

Plaintiff. (RE 62 at Page ID # 764 and # 750). Bouza was clearly at a higher level

and had substantially more responsibility than Plaintiff.

      Defendant portrays the change in the performance review process as minimal,

arguing that Bouza did nothing more than the initial draft of the evaluation. (Doc.

32-1 at 45). Even if that was all he did, it would have been a change welcomed by

Plaintiff and it would have lessened the chance of Plaintiff being subjected to

Wiley’s aggressive and demeaning conduct again.

      Defendant says that the reasonableness of a request for accommodation must

be judged at the time it was made. (Doc. 32-1 at 45). As noted above, given the facts

and circumstances of this case, jurors could find that Plaintiff’s request was

reasonable when he made it in late July of 2018.

      In addition, Defendant rejected Plaintiff’s request in early August of 2018.

(RE 43 Beene-Skuban depo. at Page ID # 133). However, on August 21, 2018, three

days before Plaintiff resigned, Defendant discussed changing the evaluation process.

(RE Hemmerle depo. at 44; RE 43, Beene-Skuban depo. at 47-48, Page ID # 155-

156; and RE 44, Wiley depo. at Page ID # 273). The change was implemented for


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the next cycle of employee evaluations that were conducted in early 2019. (RE 52

Hemmerle depo. at 45, Page ID # 693 and RE 50-2, depo. Ex. 32 at Page ID # 595).

Despite knowing that Plaintiff had concerns about Wiley and that Plaintiff was

looking for a change in supervision, Defendant never told Plaintiff that it was likely

Bouza, not Wiley, would be completing his next evaluation.

      Plaintiff is not making this argument in hindsight. Defendant’s change in the

evaluation procedure was in the works prior to Plaintiff’s resignation. The fact that

Defendant changed its review process demonstrates both the reasonableness of

Plaintiff’s request and the absence of undue hardship to Defendant.

      Defendant’s hyperbole notwithstanding, no “practical absurdity” would have

resulted from Plaintiff’s request for Aeric Bouza, the Service Coordinator, to act as

his supervisor instead of Wiley. (Doc 32-1 at 46). Defendant takes Plaintiff’s request

to the extreme, arguing that this minor change in supervision, unique to Plaintiff and

imperceptible to anyone besides Plaintiff, Wiley and Bouza, would negatively

impact its business and allow Plaintiff the luxury of “permanent immunity from

criticism.” (Doc. 32-1 at 46). Plaintiff never asked for or expected that. Plaintiff

acknowledged that he had some shortcomings. He testified that he could accept

constructive criticism. (RE 45 Tomlinson depo. at 151-152 at Page ID #332).

However, in light of his condition and prior interaction with Wiley, Plaintiff simply




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wanted to know that if criticism was coming, it would not be delivered in the same

abusive and harsh manner that Wiley used in the past.


             b.    The expected group call with management prior to Plaintiff’s
                   return to work

      Plaintiff’s request for a group call to occur before he returned to work was

also reasonable. This court addressed a similar situation in Talley v. Family Dollar

Stores of Ohio, 542 F.3d 1099 (6th Cir. 2008) and noted that through the meeting,

“the parties might have further discussed and resolved what accommodations could

allow Talley to return to work without presenting an undue hardship for the

company.” Id. at 1109.

       Defendant says the earliest mention of such a call was during Plaintiff’s

deposition and that it appears to be an “after the fact invention.” (Doc. 32-1 at 32).

The record proves otherwise. Plaintiff first referred to the call in his May 1, 2020

answers to interrogatories. Although Defendant cites one portion of Plaintiff’s

responses, he clearly stated in an earlier answer that Beene-Skuban agreed that the

call would occur before he returned:

      “Plaintiff was anxious about returning to work and wanted the situation
      worked out before he came back so he would feel comfortable about
      returning. He wanted the know the matter was resolved in order to get
      better and return to work. Jenney Beene-Skuban said they would
      schedule a call before Plaintiff returned to work to have a discussion
      with Hemmerle, Wiley and Jenny Beene-Skuban, but they kept putting
      if off.”


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(RE 45-3 at Page ID # 400)(emphasis added).

      In his March 22, 2021 deposition, Plaintiff testified again about the purpose

of the meeting. (RE 45 at Page ID # 334)(“. . . we were supposed to have this group

call . . .about helping me feel better about what they were going to do about coming

back.”).

      Plaintiff addressed the meeting again in his June 30, 2021 declaration:

      One of my main concerns about returning to work in the summer of
      2018 was being in another situation where John Wiley would again
      engage in aggressive and hostile behavior toward me. My fear was that
      it would lead to another episode of extreme anxiety causing additional
      psychological upset, negative feelings, isolation, and withdrawal from
      others that required further medical treatment and medication
      adjustments. I was also concerned that John Wiley might retaliate
      against me for complaining about discrimination and his conduct. As a
      result, I wanted to have a discussion before I returned to work so that
      everyone involved would better understand my condition and take steps
      to avoid conduct or comments that could trigger another negative
      reaction. I also wanted to feel comfortable that I was returning to a
      safe, healthy, and receptive environment.

(RE 50-1 Page ID # 564)(emphasis ours).

      Plaintiff’s recovery and ability to return to work depended on having the

meeting and being assured that the issues that precipitated his earlier episode with

Wiley, resulting in the need for medical leave, were addressed and would not be

repeated.

      In sum, jurors could find that Plaintiff’s request for a change in supervision

was reasonable under the circumstances and in the context of his workplace.


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Plaintiff’s request for a meeting prior to his return to work was also reasonable.

Defendant’s arguments in support of the district court’s decision fail.


      2.     Jurors could find Defendant failed to engage in the interactive
             process

      An employee’s request for a reasonable accommodation triggers the

employer’s mandatory duty “to participate, in good faith, in an ‘interactive process’

with [a plaintiff] as to potential reasonable accommodations.” Smith v. Henderson,

376 F.3d 529, 536 (6th Cir. 2004) (quoting 29 C.F.R. § 1630.2(o)(3)); see

also Talley, supra, 542 F.3d at 1110 (“[T]he interactive process is mandatory and

both parties have a duty to participate in good faith.”). A jury could find that

Defendant failed and refused to engage in the interactive process.

      Defendant rejected Plaintiff’s request for a change in supervision because it

was inconsistent with Defendant’s “structure.” (RE 43, Beene-Skuban depo. at 36,

Page ID # 144). Defendant offered no alternatives to Plaintiff. Defendant attempts

to avoid its failure to engage in any discussion about a change in supervision by

pointing to its conduct before Plaintiff’s request. (Doc. 32-1 at 47-48). However, the

issue is whether Defendant engaged in the interactive process to address Plaintiff’s

specific request for a change in supervision, not what it may have done before then.

See Arndt v. Ford Motor Co., 716 Fed.App’x 519, 528 (6th Cir. 2017) (the “relevant




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interactive process was not triggered until Arndt was released to return to work with

the service-dog restriction and made his second request for accommodation.”).

      Despite its outright refusal to consider any change in supervision or related

alternatives, Defendant claims Plaintiff was responsible for the breakdown of the

interactive process due to his “abrupt resignation.” (Doc. 32-1 at 49). However,

Plaintiff did not resign until after Defendant rejected his request and failed to offer

any other options. Defendant made it clear in early August of 2018 that it was not

going to engage in any conversation about a change in supervision and that if

Plaintiff returned, he needed to report to Wiley. (RE 43 Beene-Skuban depo. at Page

ID # 133).

      In addition, because Defendant refused to discuss Plaintiff’s request to report

to Bouza, other reasonable accommodations as encouraged by the Equal

Employment Opportunity Commission, such as changing the method of supervision,

were never explored. (See EEOC Guidance on the ADA and Psychiatric Disabilities,

RE 50-3 at Page ID # 623) (the ADA may require that supervisory methods be

altered as a form of reasonable accommodation.). For example, if Wiley truly was

the only person who could complete Plaintiff’s evaluation, Defendant could have

considered having Bouza or Randy Hemmerle, the Director of Human Resources,

go over the ratings and comments with Plaintiff. Wiley would have still done the

appraisal, but the likelihood of another demeaning conversation like the one that


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aggravated Plaintiff’s condition would have been minimized. And if Wiley needed

to be the person who discussed the evaluation with Plaintiff, it would have been

reasonable to have Bouza, Hemmerle, or Beene-Skuban there to help Plaintiff feel

more comfortable and to minimize the potential for exposing Plaintiff to another

event that would trigger his PTSD. Alternatively, and as often occurs in cases of

hostile environment and harassment, Defendant could have implemented a

temporary change in supervision for Plaintiff that would have allowed him to return

to work. All of the above were reasonable alternatives that could have been explored

through the interactive process. None would have been an admission that Wiley or

Defendant had done anything improper. Instead, making the changes would simply

be an acknowledgment that due to Plaintiff’s condition, an accommodation was

necessary.

       Finally, it is undisputed that on August 21, 2018, three days before Plaintiff

resigned, Defendant discussed the “lessons learned” from its investigation of

Plaintiff’s complaint. (RE 45-19 at Page ID # 437 and RE 50-2 at Page ID # 616).

One of the changes resulting from the lessons learned discussion was to have Aeric

Bouza perform the evaluations of the Field Service Technicians in his group (which

included Plaintiff) instead of Wiley. (RE 52, Hemmerle depo. at 44-45, Page ID #

692-93; RE 43, Beene-Skuban depo. at 47-48, Page ID # 155-166). The modification

in Defendant’s evaluation process was consistent with Plaintiff’s request to work


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with Bouza instead of Wiley. Defendant knew or should have known that this new

evaluation process fell under the umbrella of Plaintiff’s request for a change in

supervision. Yet, it said nothing to Plaintiff about it at the time.

      The district court said nothing in its decision about Defendant modifying its

evaluation process shortly after Plaintiff requested a change in supervision.

Defendant tries to divert attention from the district court’s error by twisting

Plaintiff’s argument. Defendant says the “important fact” asserted by Plaintiff was

that “Bouza is listed as a “Manager” on an evaluation performed after Plaintiff’s

constructive discharge. (Doc 32-1 at Page 34, note 3). Defendant is wrong. 3

      The important and undisputed fact noted by Plaintiff was that that as one of

the “lessons learned” from its investigation of Plaintiff’s complaint, Defendant

changed course and had Bouza complete the annual performance evaluations for all

of the IMM FSE’s instead of Wiley. This demonstrated the reasonableness of

Plaintiff’s request and the lack of undue hardship. That Bouza was listed as the

“manager” on one of the FSE’s evaluations simply confirmed the undisputed fact




3
  Although Defendant claims that Bouza was listed as the “Manager” due to its
“software,” Defendant’s record citations do not support the statement. (Doc. 32-1 at
34 note 3). Wiley acknowledged that Bouza was listed as the “manager” after the
“lessons learned” discussion resulting from Plaintiff’s complaint. (RE 44 Wiley
depo. at Page ID # 273). Defendant says Bouza testified about the matter, but his
deposition was never filed.

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that he did the evaluations instead of Wiley in early 2019. (RE 50-2, Wiley depo.

Ex. 32 at Page ID # 595).

      Defendant knew that Plaintiff suffered from PTSD. Defendant knew that

Plaintiff believed that Wiley exacerbated his condition. Defendant knew that

Plaintiff asked for a change in supervision. Because Defendant failed to engage in

the interactive process, there was no discussion about any reasonable alternatives,

and none were offered.

      Plaintiff asserts that Defendant failed to engage in the interactive process

when it refused to discuss his request for a change in supervision and refused to

consider or offer any alternatives. On the other hand, Defendant claims Plaintiff was

responsible for terminating the process when he resigned. While Plaintiff’s believes

there is no basis for Defendant’s assertion, at a minimum, this is a question for the

jury. See Talley, 542 F.3d at 1110 (fact question existed as to who caused the

breakdown in the interactive process where the employer failed to set up promised

meetings to discuss the plaintiff’s requests for a stool and did not return her calls

asking about it).


      3.     Jurors could find that Defendant would not have suffered any
             undue hardship

      Defendant offers no evidence of undue hardship. (Doc. 32-1 at 50-51).

Instead, it briefly argues that its burden to prove undue hardship never arose because,


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in its view, Plaintiff’s request for accommodation was unreasonable and because

Plaintiff allegedly terminated the interactive process. (Id. at 50). Defendant is

wrong.

      Defendant’s argument assumes that Plaintiff’s request for a change in

supervision was unreasonable. As argued above, given the facts of this case, it was

not. In addition, per the previously cited EEOC Guidance, Defendant also had an

obligation to address other potential alternatives such as changing supervisory

methods for Plaintiff. Defendant refused to do so.

      Defendant’s argument also assumes it had no obligation to engage in the

interactive process simply because Plaintiff’s request was inconsistent with the

company’s “structure.” (RE 43, Beene-Skuban depo. at 36, Page ID # 144). But as

argued above, the ADA requires employers to explore accommodations even if they

are outside the usual way of doing things. See 29 CFR 1630.2(o) and Pt. 1630, App.

§ 1630.2(o)(noting that accommodation may be any change in the work environment

or in the way things are customarily done that enables an individual with a disability

to enjoy equal employment opportunities.”)(emphasis ours).

      Plaintiff did not refuse the offer to meet as alleged by Defendant. (Doc. 32-1

at 32). He agreed to have the meeting when Defendant finished the interviews it

conducted as part of its investigation. (RE 50-2 at Page ID # 603)(“When you are

finished talking to who you want to we can have our conference…”). The pre-return


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meeting was vital to Plaintiff’s ability to return to work. Defendant claims it did not

want to have the meeting until Plaintiff returned to work out of respect for his

medical condition. (Doc. 32-1 at 33). Jurors could find this explanation to be

pretextual. There were ongoing communications with Plaintiff while he was on

medical leave, including interviews with Beene-Skuban on July 26, 2018 and August

7, 2018. (See Doc. 32-1 at 33, RE 45-18 at Page ID # 452-453, and RE 50-2 Page

ID # 601 and 609).

      In any event, since Defendant was willing to meet with Plaintiff when he

returned from medical leave, there was no undue hardship in having the meeting or

group call before Plaintiff came back. (See August 20, 2018 email from Beene-

Skuban to Plaintiff, RE 45-19 at Page ID # 457) (“3) once Curt returns from medical

leave, a face-to-face meeting between Curt and John, with legal and HR facilitating,

in order to make sure that the parties involved feel heard and are able to move

forward.”).

      In sum, Defendant has offered no evidence to show that a change in Plaintiff’s

supervision, finding alternate methods of supervising him, or a pre-return meeting

would have resulted in any undue hardship. As a result, jurors could find that

Defendant failed to meet its burden under the ADA.




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B.    The District Court Erred in Granting Summary Judgment on
      Plaintiff’s Retaliation Claim

       1.       Plaintiff suffered an adverse employment action

      There is no dispute that the failure to accommodate a disability and a

constructive discharge are adverse actions. Laster v. City of Kalamazoo, 746 F.3d

714, 727-728 (6th Cir. 2014) citing Koscis v. Multi-Care Mgmt. Inc., 97 F.3d 876,

886 (6th Cir. 1996) (employee may establish an adverse employment action by

demonstrating that he was constructively discharged). As a result, if, as argued

above, jurors find that Defendant failed to accommodate Plaintiff and/or that he was

constructively discharged, there would be an adverse action supporting the

retaliation claim.


      2.        Defendant’s conduct resulted in Plaintiff’s constructive
                discharge

      Defendant argues that Wiley’s conduct should not be considered as part of the

constructive discharge analysis because a person who did not suffer from PTSD

would not have reacted the same way to Wiley’s criticism. (Doc. 32-1 at 53).

However, when a constructive discharge results from the employer’s failure to

address and/or accommodate a disability, courts and juries are free to consider how

the disability played a role in the employee’s decision to resign. In Talley, supra the

court stated:



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      “Assuming that Talley was denied a reasonable accommodation that
      forced her to work in excess of her medical restrictions, a reasonable
      jury could infer that the defendants knew that Talley's working
      conditions would become intolerable to a reasonable person suffering
      from her particular disability.”

542 F.3d at 1109 (emphasis ours).

      Similarly, in Smith v. Henderson, supra, the plaintiff raised a jury question

regarding her constructive discharge. The court noted that reasonable jurors could

infer that the repeated failure to accommodate Smith’s request would “cause her

working conditions to become intolerable for a reasonable person suffering from

her particular disability.” 376 F. 3d at 534 (emphasis ours). Defendant’s assertion

that Plaintiff’s condition and resulting reaction should be disregarded is contrary to

the above cases. It is for jurors to decide if the working conditions were intolerable

for Plaintiff in light of his condition and Defendant’s failure to accommodate him in

a way that would avert another severe mental health event.

      Defendant says that Plaintiff’s reliance on the lack of a pre-return call to

establish a constructive discharge is “illogical and misplaced” since Plaintiff sought

other employment before resigning, which mooted the need for the call. (Doc. 32-1

at 55). Jurors could easily disagree.

      First, the pre-return discussion at issue here is similar to the meeting that the

plaintiff in Talley expected to occur and which the court found supported her

constructive discharge. The court noted that at the meeting, “the parties might have


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further discussed and resolved what accommodations could allow Talley to return

to work without presenting an undue hardship for the company.” 542 F.3d at 1109.

The same is true here.

      Second, Ms. Beene-Skuban advised Plaintiff on July 31, 2018 that the group

call or meeting would occur if he returned to work. (RE 50-2 at Page ID #

603)(“Please also consider when you might be in a place where you can sit down

with me and Randy and John, which, should you return to work, should happen

regardless of the outcome on my investigation.”). This was before Plaintiff was

offered employment by Avure. The need for the call or meeting still existed. It was

not moot.

      Third, Plaintiff did not resign until August 24, 2018, nearly a month after

Defendant told him the group call or meeting would occur if he returned to work.

Plaintiff retained the option to forego new employment and return to Defendant if

Defendant would have accommodated him. Instead, Defendant deliberately created

an intolerable working environment for Plaintiff. Defendant knew that due to his

disability, Plaintiff had concerns about being exposed to an interaction with Wiley

that would trigger another strong emotional reaction. Still, Defendant refused to even

discuss a change in supervision or supervisory methods with Plaintiff. Defendant

made it clear that if Plaintiff returned to work, he would have to report to Wiley. (RE

43, Beene-Skuban depo. at Page ID # 133, 144-45).


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      Defendant says Plaintiff failed to address Arndt v. Ford Motor Co., 716

Fed.App’x 519 (6th Cir. 2017), a case it cited below. (Doc. 32-1 at 57). However,

the district court did not rely on Arndt in ruling on the constructive discharge issue,

perhaps because it is not on point. (RE 62 Opinion at Page ID # 767-768). Arndt is

easily distinguishable since “Arndt withdrew his first request [for accommodation]

and Ford was actively evaluating his second request when he resigned.” 716

Fed.App’x at 30. That is not what happened here. Plaintiff resigned after his request

for accommodation was rejected; after Defendant refused to address or discuss

alternate methods of supervision; and, as in Talley, after Defendant failed to

schedule a meeting to work out any issues or concerns before Plaintiff returned to

work. In addition, Defendant never told Plaintiff before he resigned that it was

considering having Bouza perform evaluations instead of Wiley. Surely, this is

information that, if disclosed to Plaintiff, would have made a difference in his

decision. Jurors could find that Defendant’s failure to do so is evidence of its desire

not to have Plaintiff return.

      In sum, as in Smith and Talley, jurors could find that Defendant’s failure to

accommodate Plaintiff and its refusal to address his concerns about continued

interactions with Wiley resulted in an intolerable situation. Defendant denied

Plaintiff’s request for a change in supervision and offered no other alternative.

Whether the situation was intolerable was a question for the jury, and the district


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court erred in concluding otherwise. As in Talley, a jury could find that Plaintiff’s

resignation was both intended and foreseeable. 542 F.3d at 1109


                                III.   CONCLUSION

      As set forth above and in Appellant’s Brief, the district court erred in granting

Defendant’s motion for summary judgment. There were disputed issues of fact

regarding Plaintiff’s requests for accommodation, Defendant’s failure to engage in

the interactive process, the existence of undue hardship, and Plaintiff’s constructive

discharge. These were issues for the jury.

      Plaintiff respectfully requests that the decision of the district court be reversed

and that this matter be remanded for trial.

                                                   Respectfully submitted,

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                   CERTIFICATE OF COMPLIANCE
      Pursuant to Rule 32(a)(7)(C), Counsel for Appellant certifies that
Appellant’s brief contains 5,529 words between pages 1 and 23.

                                              s/ David Torchia
                                              David Torchia

                           CERTIFICATE OF SERVICE
      I certify that a copy of the foregoing document was filed electronically on July
5, 2022 and will be served upon all counsel of record via the court’s ECF system.


                                              s/ David Torchia
                                              David Torchia




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